          Case 3:16-cv-02215-MO         Document 1        Filed 11/23/16    Page 1 of 8




Sonia A. Montalbano, OSB No. 97082
John D. Ostrander, OSB No. 87394
ELLIOTT, OSTRANDER & PRESTON, PC
707 SW Washington, Suite 1500
Portland, OR 97205
Telephone (503) 224-9867
Fax (503) 224-7819
sonia@eoplaw.com
john@eoplaw.com
Attorneys for Plaintiff Timothy Marsh



                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION


                                                       Case No.   1; ~ IU- l V- 01- J. I LJ
 TIMOTHY MARSH,
     Plaintiff,                                                   COMPLAINT

        v.                                          (Failure to Pay Overtime - 29 U.S.C. §207;
                                                    O.R.S. 631.261; Failure to Pay Wages on
 HILLSBORO BODY AND PAINT, LLC,                     Termination - O.R.S. 652.120)
 an Oregon limited liability company, and
 FLORIAN ADRIAN PERTE, and                          JURY TRIAL REQUESTED
 individual

        Defendants.



      Plaintiff Timothy Marsh alleges as follows:

                          JURISDICTION AND VENUE

                                            1.

       This Court has subject matter jurisdiction over Plaintiffs' federal law claims pursuant to

29 U.S.C. § 216(b) (Fair Labor Standard Act ("FLSA" or "the Act")), 28 U.S.C. § 1331 (Federal

Question) and§ 1337 (Actions arising under acts of Congress relating to commerce).



1 I COMPLAINT
           Case 3:16-cv-02215-MO         Document 1      Filed 11/23/16     Page 2 of 8




                                              2.

        This Court has supplemental jurisdiction over Plaintiffs' state law claims pursuant to 28

U.S.C. § I367(a), because these claims are so closely related to Plaintiffs' federal law wage and

hour claims that they form parts of the same case or controversy and the actions would ordinarily

be expected to be tried in one judicial proceeding.

                                              3.

        Venue is proper in this Court pursuant to 28 U.S.C. § 139I(b)(i)(2) because the

Defendants conducted and continues to conduct business in the District of Oregon, Plaintiff was

employed by the Defendants in this District, and acts and omissions that are the subject of this

suit transpired in this District.

                                          PARTIES

                                                   4.

        Plaintiff Timothy Marsh is a resident and citizen of the State of Oregon.

                                                   5.

        At all relevant times Defendant Hillsboro Body and Paint, LLC ("Defendant HBP") was

an Oregon limited liability company, registered to do business in the State of Oregon.

Defendant's primary business is to repair and paint automobiles at its place of business ("the

Shop"). Defendant HBP is an employer within the meaning of the FLSA and O.R.S. 652.310(1).

                                                    6.

        Upon information and belief Defendant HBP is an enterprise engaged in interstate

commerce with an annual dollar value of sales in excess of $500,000.




21 COMPLAINT
            Case 3:16-cv-02215-MO         Document 1      Filed 11/23/16     Page 3 of 8




                                                 7.

          Upon information and belief Defendant Florian Adrian Perte ("Defendant Perte" is the

sole member, officer, and/or director of Defendant HBP. Throughout Plaintiffs employment

Defendant Perte exercised operational control over significant aspects of Defendant HBP' s day

to day function, the nature and structure of the Plaintiff's employment relationship, and had

economic control over Plaintiffs employment relationship. Defendant Perte is an employer

within the meaning of the FLSA and O.R.S. 652.310(1).

                                SUBSTANTIVE ALLEGATIONS

                                                 8.

          Plaintiff was hired as Defendants' employee in January, 2013. Plaintiff was given the

title of "manager", although initially there were no employees at the shop other than Florian

Adrien Perte, the owner of Defendant HBP.

                                                 9.

          Plaintiffs primary duty upon being hired was to repair and paint automobiles that had

been damaged. Throughout the time he was employed Plaintiff Marsh was paid on an hourly

basis.

                                                 10.

          Plaintiffs hourly rate of pay was $16.00 from the time he was first employed through

September, 2014. From October 2014 through April 2016, Plaintiffs hourly rate of pay was

$17 .00. From May 2016 up to the time of his termination, Plaintiffs hourly rate of pay was

$20.00.




3 I COMPLAINT
          Case 3:16-cv-02215-MO          Document 1       Filed 11/23/16     Page 4 of 8




                                                11.

       Although Plaintiff Marsh did take on some extra duties while employed by the

Defendants, throughout his employment Plaintiffs primary duty continued to be performing

manual labor on automobiles.

                                                12.

       While employed by the Defendants, Plaintiff Marsh worked in excess of 40 hours within

a workweek on multiple occasions. Defendants paid Plaintiff Marsh for all hours worked at his

regular hourly rate of pay. Defendants did not pay Plaintiff any overtime for the hours worked in

excess of 40 within a workweek.

                                                13.

       Defendants terminated Plaintiff Marsh's employment on or about on September 12, 2016.

                                                14.

       Defendants, despite demand, has refused to pay Plaintiff Marsh for all wages owed to

him at the time of his termination.

                                 FIRST CLAIM FOR RELIEF
                                  Violation of 29 U.S.C. §207
                                   Failure to Pay Overtime


                                                15.

       Plaintiff incorporates the allegations of paragraphs 1 through 14.

                                                16.

       Plaintiff is entitled to the rights, protections and benefits under the Fair Labor Standards

Act ("FLSA"), 29 U.S.C. §201 et seq., including being paid at 1 and 1/2 times his hourly rate of

pay for hours worked in excess of 40 within a workweek.




41 COMPLAINT
          Case 3:16-cv-02215-MO          Document 1       Filed 11/23/16      Page 5 of 8




                                                 17.

       On more than one occasion, Plaintiff was paid only his regular hourly rate for hours

worked in excess of 40 within a workweek, in violation of 29 U.S.C. §207 and 29 C.F.R.

§778.107. Plaintiff is entitled to unpaid V2 time for the hours he worked in excess of 40 in a

workweek.

                                                 18.

       Plaintiff estimates that he is owed $15,177.75 in unpaid overtime for the period between

November 2014 through the date of his termination.

                                                 19.

       Defendants' conduct in refusing to pay overtime was willful. Plaintiff Marsh is therefore

entitled to a third year of unpaid overtime. Plaintiff Marsh estimates that he is owed $3,472 for

unpaid overtime from November 2013 through October 2014.

                                                 20.

       Plaintiffs work duties did not meet the requirements for exemption from overtime as

allowed under federal law.

                                                21.

       Defendants owe Plaintiff Marsh unpaid overtime of not less than $18,649.75 or in an

amount to be proven at trial.

                                                22.

       Defendants have not acted with a good faith belief or with reasonable grounds to believe

that their actions were not a violation of the FLSA; therefore Plaintiff Marsh in entitled to

liquidated damages in the amount equal to his unpaid wages pursuant to 29 U.S.C. §216 (b).




5 I COMPLAINT
          Case 3:16-cv-02215-MO          Document 1         Filed 11/23/16   Page 6 of 8




                                                23.

       Plaintiff is entitled to prejudgment interest from the date Plaintiffs wages became due

and owing.

                                                24.

       Plaintiff has hired legal counsel to prosecute his claims and is entitled to his reasonable

attorneys' fees and costs pursuant to 29 U.S.C. §216 (b).

                                SECOND CLAIM FOR RELIEF
                                   Violation of ORS 653.055
                         Failure to Pay Overtime and Penalty Wages


                                                25.

       Plaintiff incorporates the allegations of paragraphs 1 through 14.

                                                26.

       Despite demand, Defendants have refused to pay Plaintiff Marsh overtime compensation

for hours worked in excess of 40 in a workweek in violation of ORS 653.261, ORS 653.055 and

OAR 839-020-0030.

                                                27.

       Plaintiff received only his regular hourly rate for hours worked in excess of 40 within a

workweek. Plaintiff is entitled to unpaid V2 time for the hours he worked in excess of 40 in a

workweek.

                                                28.

       Plaintiffs work duties did not meet the requirements for an exemption as described in

ORS 653.020.




6 I COMPLAINT
          Case 3:16-cv-02215-MO          Document 1       Filed 11/23/16     Page 7 of 8




                                                29.

       Plaintiff estimates that he is owed $15,177.75 in unpaid overtime for the period between

November 2014 through the date of his termination.

                                                30.

       In addition to his unpaid wages, Plaintiff Marsh is entitled to $4,800 ($20.00 x 8 hours x

30 days) in penalty wages for failing to properly pay overtime compensation pursuant to ORS

653.055(l)(b) and ORS 652.150.

                                                31.

       Under Oregon law, upon termination, final payment of all wages is accelerated and all

earned but unpaid wages must be paid the next business day. ORS 652.140.

                                                32.

       Defendants violated Oregon law by failing to timely pay Plaintiff Marsh the overtime

compensation due to him following termination of his employment.

                                                33.

       As a result of Defendants' willful failure to pay Plaintiff Marsh all compensation due as

required by ORS 652.140 Plaintiff is entitled to a second penalty in the amount of $4,800

($20.00 x 8 hours per day x 30 days).

                                                34.

       Plaintiff is entitled to prejudgment interest at the rate of 9% per annum on the amount of

unpaid wages from the date the wages became due and owing until paid in full.

                                                35.

       Plaintiff has hired legal counsel to prosecute his claims and is entitled to his reasonable

attorneys' fees and costs pursuant to ORS 652.200.




71 COMPLAINT
            Case 3:16-cv-02215-MO          Document 1       Filed 11/23/16     Page 8 of 8




                                             * * * * *
         WHEREFORE, Plaintiff Marsh requests judgment in his favor and against each of the

Defendants as follows:

On his FIRST CLAIM FOR RELIEF:

         a. For unpaid wages in an amount not less than $18,649.75 or an amount to be proven at

trial;

         b. An award of liquidated damages in the amount of $18,649.75, or an amount to be

         proven at trial, but in any event equal to the amount of unpaid wages;

         c. An award of prejudgment interest from the date Plaintiffs unpaid wages

         became due and owing; and,

         d. Plaintiffs attorney fees, expert fees and costs incurred herein.

On his SECOND CLAIM FOR RELIEF:

         a. An award of unpaid overtime of at least $15,177.75 or an amount to be proven at trial;

         b. An award of penalty wages in the amount of at least $9,600, or an amount to be proven

         at trial;

         c. An award of prejudgment interest from the date Plaintiffs unpaid wages

         became due and owing; and,

         d. Plaintiffs attorney fees and costs incurred herein.

         DATED this 23rd day of November, 2016.

                                        ELLIOTT, OSTRANDER & PRESTON, P.C.




                                              Sonia A. Montalba o, SB No. 97082
                                              John D. Ostrander, 0 B No. 87394
                                              Of Attorneys for Plaintiff



8 I COMPLAINT
